                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA          )
                                  )      No. 08 CR 192
       v.                         )
                                  )      Hon. Ruben Castillo
HANJUAN JIN                       )




                  GOVERNMENT'S SENTENCING MEMORANDUM




                                         Respectfully submitted,

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        The UNITED STATES OF AMERICA, by GARY S. SHAPIRO, Acting United States

Attorney for the Northern District of Illinois, respectfully submits its Sentencing Memorandum

regarding HANJUAN JIN.

        I.      INTRODUCTION

        In February 2007, Defendant, a nine-year software engineer for Motorola, betrayed the trust

Motorola placed in her by stealing Motorola’s proprietary iDEN telecommunications technology

for herself and Sun Kaisens, a company that developed telecommunications technology for the

Chinese military. Motorola invented the stolen technology over 20 years ago and since that time

developed and guarded it from competitors to insure that it was the sole company authorized to

market and sell the technology worldwide. Over the past twenty years, the iDEN technology

generated hundreds of millions of dollars in revenue for the company, including $365 million in

2011 alone, and was responsible for the employment of hundreds of Motorola engineers and staff.

See Government’s Supplemental Version of the Offense1 (“Government Supplemental Version”).

The iDEN technology is a vital and profitable part of Motorola’s business and a critical part of the

cellular telecommunications industry. Id. For instance, in a 10-K filing submitted by Motorola

iDEN customer NII Holdings (Nextel International), NII reported revenues of over $2 billion and

noted that Motorola was the sole company manufacturing iDEN technology. See excerpt of NII’s

2006 Form 10-K filing, attached as Exhibit 19 to Government’s Version of the Offense

(“Government’s Version”), at 111.

        In a matter of days in February 2007, defendant put Motorola’s entire iDEN business, as well

as the decades of work and innovation by Motorola employees, in jeopardy. More specifically,

through a series of lies to Motorola employees, Defendant gained access to Motorola’s campus in


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      Motorola provided a letter detailing the impact and effect Defendant’s conduct had on Motorola and
its employees, which is attached to the Government’s Supplemental Version of the Offense.
Schaumburg, Illinois, and then raided the iDEN technology. The Defendant’s raid of iDEN

documentation was so thorough - she stored thousands of documents to her portable hard drive -

that Defendant, as well as anyone else that had access to that portable hard drive, had the blueprint

necessary to create competing iDEN products and systems.

        Defendant lied to Motorola employees and stole the technology to benefit herself and the

Chinese military. More specifically, Defendant hoped to use the Motorola technology to start a new

life and job in China working as an engineer for Sun Kaisens. Notably, Sun Kaisens described itself

as “[a]s a young and vigorous high tech enterprise, . . . determined to contribute to the development

of National Defense communication of P.R. China.” See Exhibit 5 to Government’s Version,

document number 21.

        Based on Defendant’s conduct, Defendant’s properly-calculated Guideline range is 121 to

151 months imprisonment.2 While this applicable Guidelines range calls for a substantial period of

incarceration, the Guidelines range is chiefly driven by an exceptionally-conservative calculation

of the intended loss amount. More specifically, Defendant essentially stole the entire iDEN

technology, for which Motorola spent well in excess of $400 million researching and developing

in just a matter of years. However, the government only seeks to hold Defendant accountable under

the Guidelines for an intended loss of $20 to $50 million, which as explained below is the research

and development cost related to just a few of the hundreds of documents she stole from Motorola.




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       Detailed findings of fact related to Defendant’s conduct are included in the Court’s February 8,
2012 Memorandum Opinion and Order (hereinafter, “Order”) issuing the verdict in this case. See Docket
Entry number 209, pages 3-50. Accordingly, the government will not restate those same facts in this
filing. For the same reason, the government will not repeat the facts summarized in: (1) the Presentence
Investigation Report (“PSR”), lines 35-106; (2) the Government’s Version, and (3) the Government’s
Supplemental Version.

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          At this time, the government is not making a specific sentencing recommendation to the

Court because the government expects to learn more about defendant’s health status in Defendant’s

sentencing memorandum. After obtaining this additional information, the government will promptly

provide its sentencing recommendation to the Court.

II.       GUIDELINE CALCULATIONS AND RECOMMENDED SENTENCE

          A.     Applicable Guideline Calculations

          Defendant’s maximum term of imprisonment for each of Counts One, Two and Three is 10

years, for a total maximum sentence of imprisonment of 30 years.3              PSR, lines 361-362.

Additionally, the government agrees with the PSR that the properly-calculated guideline range for

Defendant is as follows:

            Base offense level (2B1.1(a)(2))                                           6
            Intended Loss Amount is between $20 and $50 million                     +22
            (2B1.1(b)(1)(L))
            Defendant knew or intended that the offense would benefit                +2
            a foreign government (2B1.1(b)(5))
            Defendant used a special skill that significantly facilitated            +2
            the commission of the offense (3B1.3)
            ADJUSTED OFFENSE LEVEL                                                   32

PSR, lines 121-169. Defendant’s criminal history points total is zero, and therefore she is in

criminal history category I. PSR, lines 171-177. Accordingly, defendant’s properly-calculated

Guideline range is 121 to 151 months’ imprisonment. PSR, lines 363-364.




      3
     Defendant was convicted following a five-day bench trial of violating Counts One, Two and Three,
which charged her with violating Title 18, United States Code, Section 1832. Order, at 77. Defendant
was found not guilty on Counts Four, Five and Six, which charged her with violating Title 18, United
States Code, Section 1831. Id.

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        Defendant has yet to contest the Sentencing Guidelines as calculated in the PSR, but based

on her defense at trial, the government anticipates that Defendant will contest each of the

enhancements set forth above. Accordingly, the government’s position with respect to each

Guideline enhancement, which was adopted by the PSR, is set forth below.

        Intended Loss Amount is at Between $20 and $50 Million

        The government seeks an intended loss amount of $20 to $50 million, which results in a 22

level increase in the offense level pursuant to Guideline Section 2B1.1(b)(1)(L). More specifically,

Defendant’s theft of iDEN technology was so vast that anyone obtaining the documents (or stealing

the documents even from Defendant) had the means to replicate an entire iDEN system. Despite the

fact that Defendant stole essentially the entire technology, the government is not, at this time,

seeking to hold Defendant responsible for the cost associated with even a single year of research and

development of the iDEN technology, which in each year between 2001 and 2006 was more than

$50 million. Nor is the government seeking to hold Defendant responsible for even a single year

of Motorola’s iDEN-related revenues, which were $365 million in 2011. The $20 to $50 million

loss figure is based, rather, on a calculation of the research and development costs generated as part

of just a handful of the hundreds of Motorola documents that Defendant stole from Motorola.4

        Intent to Benefit a Foreign Government

        The offense level is increased an additional 2 levels pursuant to Guideline §2B1.1(b)(5)

because the offense involved misappropriation of a trade secret, and the Defendant intended that

the offense would benefit a foreign government. In finding Defendant not guilty of Counts Four,

Five and Six, the Court determined that the government’s evidence “failed to establish beyond a


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      Rather than restate all of the evidence set out in detail in the Government’s Version on the intended
loss calculation here, the government incorporates pages 32 to 41 of the Government’s Version.

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reasonable doubt that Jin intended or knew that her conduct would benefit the [People’s Republic

of China].” Docket Entry 209, page 77. However, at the sentencing hearing, the government may

prove applicable enhancements by a lower standard of a preponderance of the evidence. See

Guidelines Section 6A1.3, commentary.

       In this case, the government can meet this burden based on Defendant’s statements to law

enforcement, her emails with Chief Qi and Liu (both Sun Kaisens employees that had direct contact

with Defendant) and the documents that she was given by Liu during her last trip to China between

November 2006 and February 2007. Also, as explained by the government’s expert witness on the

Chinese military-industrial complex, Defendant’s conduct is consistent with the means used by the

Chinese government to collect information about United States technology.

       As an initial matter, the Court found that Defendant was planning to obtain employment at

Sun Kaisens in China. This is supported by Defendant’s own statements (including that she

expected to be offered a job by Liu when she returned to China) and her emails with Chief Qi. The

Court also found that Defendant told FBI agents that she “wanted the [Motorola] documents to help

her get her next job.” Order, at 18. Thus, as the evidence showed at trial, Defendant was taking the

Motorola documents with the intent to help with her work at Sun Kaisens.

       The Court also found that the documents recovered from Defendant show that “Sun Kaisens

works closely with the Chinese Military.” Order, at 49. For instance, Defendant was carrying a

commercial script for Sun Kaisens that stated: “‘Devotion and Contribution to National Defense’

is the entrepreneurial ideal of SUNKAISENS’. . . . And surely it will contribute to the national

defense . . .” Government Exhibit Ion 9-TR, at 14. Additionally, as the Court noted, one document

recovered from Defendant listed Sun Kaisens as part of “the highest decision-making body of the

Comprehensive Mobile Communications Project.” See Exhibit 8 to Government’s Version.

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       The evidence at trial also showed that between November 2006 and February 28, 2007,

Defendant had done work for Sun Kaisens and that work was primarily focused on developing

products for the Chinese military. For instance, on December 4, 2006, while Defendant was in

China, Liu emailed Defendant a project to be discussed with the 61st Research Institute in the near

future. As the Court noted in its Order, the 61st Research Institute is part of the Chinese military and

works to develop telecommunications technology for the Chinese military. Also, Defendant stated

that Liu gave her a number of documents to review to see how she could help. These documents

are set out on Exhibit Five to the Government’s Version. Defendant stated that she took the

documents and agreed to review them and provide assistance. The vast majority of these document

deal with Chinese military technology or are classified as Secret. Moreover, a number of the

documents listed on Exhibit Five are drafted by entities that fall within the Chinese military or

within the Chinese military-industrial complex. These documents were saved to Defendant’s

electronic media just weeks before she stole thousands of Motorola iDEN documents and attempted

to board an airplane for China (with a one-way ticket), where she then expected to start a new life

working for Sun Kaisens.

       Additional evidence that Defendant’s work at Sun Kaisens related to projects for the Chinese

military is garnered from comparing her statements to law enforcement with the Chinese documents

recovered from her on February 28, 2007. More specifically, Defendant stated during an interview

with FBI agents that Liu wanted to determine whether Defendant could contribute to the “Short

Message” project. Order, at 20. Notably, documents 8, 14, and 20 listed on Exhibit 5 to the

Government’s Version are authored by a Chinese military entity or Sun Kaisens, and deal with a

“short messaging” project or a “short message center.” For instance, Document 20 is titled “Data



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Packet Format Protocol of Artillery’s Quick Counter Short Messaging Application System (Draft).”

A portion of this document states the following:

       Requested by Artillery Commanding Post of Army Group XXX and based on full
       discussions between the two parties, it is decided that Sun Kaisens (Beijing) S&T
       Co. Ltd.’s’ ‘Vehicular CDMA Mobile Communication System’s Short Messaging’
       will be used for transmitting artillery firing commands and other data. Once
       completed, the system only takes 8-12 seconds from the point when the surveillance
       soldier discovers the target, the commanding post makes the calculations, and
       individual artillery positions receive firing orders. Artillery positions will be able to
       report firing results to the commanding post within six seconds. The deployment of
       this system will greatly enhance the quick response capabilities of artillery units.

See Document 20 listed on Exhibit 5 to Government’s Version. Accordingly, the evidence

makes clear that when Defendant returned to China she would be working on military

projects.

       In the February 8, 2012 order, the Court found that Sun Kaisens was focusing on technology

related to soft-switching and CDMA technology and that the technology available to Sun Kaisens

was more advanced than iDEN technology.                Order, at 49.   However, for this sentencing

enhancement, the inquiry is whether “defendant knew or intended that the [misappropriate of a trade

secret] would benefit a foreign government.” Accordingly, Defendant’s intent in stealing the trade

secrets rather than the actual utility of the trade secrets to Sun Kaisens and the Chinese military is

the critical inquiry under Guidelines Section 2B1.1(b)(5).

       The timeline of Defendant’s conduct best demonstrates her intent to use the Motorola

documents to benefit her work at Sun Kaisens. More specifically, on February 15, 2007, Defendant

returned to the United States shortly after a series of meetings with Liu and others at Sun Kaisens.

During these meetings, Liu provided Defendant with the classified Chinese military documents

describing telecommunications projects and asked Defendant to help. At that time, Defendant

agreed to help with the Sun Kaisens projects. Days later, after having time to digest the information

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about the projects, Defendant used her few remaining days in the United States to launch her

scheme to enter Motorola’s office space and essentially steal the entire iDEN technology.

Defendant’s almost immediate and calculated efforts to steal iDEN documents upon her brief return

to the United States, further evidence her desire to obtain these documents before she returned to

China and Sun Kaisens. Indeed, she admitted just that to the FBI (that she took these documents for

her next job). Whether she was right or wrong in believing that the iDEN related technology

documents would actually benefit her work at Sun Kaisens and the Chinese military projects, the

evidence shows that was her intent in stealing the Motorola documents shortly before boarding a

plane for China. And, Defendant’s intent is the key to this two-level enhancement under Section

2B1.1(b)(5).

       There is also good reason to believe that Defendant was correct about the application of

iDEN technology to some of the Chinese military projects detailed in the Chinese military

documents. For instance, two of the Power Point presentations drafted by the Chongqing Institute,

which were recovered from Defendant at the airport, address the Chinese military’s efforts to find

a telecommunications technology that could function on a 50 kilohertz or 25 kilohertz channel.

Motorola’s iDEN technology maximizes these narrow channels, while competing CDMA and GSM

technologies need a much larger channel. The Court noted in its order that other publicly available

technologies also can function on a 25 or 50 kilohertz channel, but Defendant did not spend her last

few days in the United States downloading these publicly-available technologies from the Internet.

Instead, Defendant, who knew the iDEN technology well after her years at Motorola, implemented

a risky scheme to gain access to and steal Motorola’s iDEN technology. The overlap between the

Sun Kaisens projects she was asked to help with in China and the iDEN technology are the best

explanation for Defendant’s motivation to steal the documents.

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        Moreover, there is no doubt that Sun Kaisens was interested in Motorola technology. In fact,

the evidence showed that by February 2007, Sun Kaisens had already stolen and used Motorola

technology. More specifically, among the documents stored on Defendant’s external hard drive, was

a Motorola document titled in part: “Motorola . . . Product Description Version 0.8f” and dated

Tuesday, June 22, 2004 (“Diagram Document”). It was later discovered that “[o]n November 9,

2006, [Defendant] saved the Sun Kaisens document ‘Next Generation Soft-Switching Technology

Program Version 1.0,’ dated August 2006, onto her thumb drive.” Order, at 6. On page 9 of this

document (marked for trial as THD-6_TR), Sun Kaisens copied an engineering diagram from the

Diagram Document. The only difference between the Sun Kaisens diagram and the Motorola

diagram is that the word Motorola was removed from the Sun Kaisens version. However, the Sun

Kaisens version neglected to remove an “m” that stands for Motorola in the diagram. Accordingly,

it is clear that by Defendant’s return trip to China on February 28, 2007, her future employer Sun

Kaisens already had stolen and used Motorola technology and made efforts to conceal the theft.

        Additionally, as explained by Shawn Bateman, a former intelligence officer with the

Department of Defense and the Defense Intelligence Agency who studied China and its military and

defense industry for over 15 years, Defendant’s conduct is consistent with intelligence collection

methods used by the Chinese government to gather industrial information from the United States.2

See Government’s Supplemental Version of the Offense.                 Ms. Bateman’s opinion further

demonstrates that Defendant’s theft was intended to benefit China and its miliary. As described in

Ms. Bateman’s Report (“Report”) China does not exclusively rely on a small group of sophisticated,



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      Ms. Bateman testified as an expert witness at Defendant’s trial, and the Court found “[h]er
testimony thorough, objective and credible.” Order, at 43. The entire report is attached to the
Government’s Second Supplemental Version of the Offense.

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well trained, intelligence agents to target the most secret and valuable information in the United

States. Instead, China regularly uses a large number of untrained individuals with ties to China and

already based in the United States to collect technologies that the individuals already have access

to in the United States - with an emphasis on dual use technology (which can be utilized for military

and civilian purposes). More specifically, the Report states, “China’s economic espionage efforts

often were not targeted at the ‘crown jewels’ of US technological supremacy. Instead, much of the

sought after information and technology is dated military-related or infrastructure-supportive

technologies that are no longer classified and that often have both military and civilian applications.”

Id. at 7-8 (internal quotation omitted).

       The Report also explains that the goal of the Chinese government in collecting any

technology available is multifaceted and includes: “to catch up on the difference in technology, to

gain influence around the world, to know more about where the competition is, and definitely to not

have to pay for research and development . . .” Id. at 3; see also id. at 8-9. The Report also states

that “the budgets of Chinese intelligence agencies have soared in recent years due to stolen

information saving time and capital and leading to reduced foreign competition.” Id. at 3.

       Additionally, the Report states that given Defendant’s multiple trips to China, her ties to the

Military Mobile Communications Project Group, her work for other telecommunications companies

- including Sun Kaisens - in China, and her desire to work for Sun Kaisens make her a likely

information collector for China. Moreover, her access to classified military documents is consistent

with an individual “vetted by the Chinese government and found not only worthy of a level of trust

and confidence as a valued consultant to the Chinese military, but having the technical knowledge

and expertise in military mobile communications technology necessary for their purposes.” Id. at

5. The Report also stated: “By providing those documents to [Defendant], it is apparent that the

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Chinese military or its representatives viewed [Defendant] in the capacity of a consultant if not

future employee.” Id.

       Finally, the Report states that the iDEN information would have been prized by the Chinese

government in 2007 because of its civil and military uses. Id. at 10-12. For instance, the Report

notes that the iDEN technology is still in use in a number of markets, including the growing market

in Africa and by the Israeli Defense Forces. Id. at 10. The Report also notes that the iDEN

documents “would likely have been viewed as significant in their potential to shorten China’s

[research and development] cycle in developing more advanced telecommunications technologies,

reducing costs and providing a competitive edge as it ‘leap frogs’ toward parity with the West.” Id.

       Accordingly, because Defendant stole the Motorola trade secrets intending to benefit the

Chinese government and its military, Defendant should receive a two-level increase pursuant to

Guidelines Section 2B1.1(b)(5).

       Special Skill

       The offense level is increased an additional 2 levels pursuant to Guideline §3B1.3 because

Defendant used a special skill that significantly facilitated the commission of the offense. United

States v. Lange, 312 F.3d 263, 269-70 (7th Cir. 2002); see also Guideline §3B1.3 note 4 (“‘Special

skill’ refers to a skill not possessed by members of the general public and usually requiring

substantial education, training or licensing. Examples include pilots, lawyers, doctors, accountants,

chemists, and demolition experts.”). In Lange, the Seventh Circuit affirmed the district court’s

application of the special skill enhancement to a defendant who was employed as a drafter in a theft

of trade secrets case based upon the defendant’s associate’s degree and ability to use and manipulate

drawing in AutoCAD. Id. More specifically, the Seventh Circuit stated that “[d]rafting skills,



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including the use of AutoCAD, are ‘not possessed by members of the general public’, require time

to master, and played a central role in the offense.” Id. at 270.

        In this case, Defendant’s special skill surpassed the skill of the defendant in Lange as a

drafter and knowledge of AutoCAD. Instead, in this case, Defendant’s special skill was as an iDEN

software engineer for Motorola. She had undergraduate and master’s degrees in physics and had

nine years of Motorola training as a software engineer in iDEN. Her skills as a software engineer

are not possessed by members of the general public, require time to master, and played a central role

in the offense. More specifically, her skills as an iDEN software engineer allowed her to access,

target and steal a vast array of Motorola’s iDEN technology documentation.

        B.      Defendant Should Receive a Significant Sentence Pursuant to the Sentencing
                Factors under 18 U.S.C. § 3553(a)

        For reasons explained below, the government asks the Court to impose a significant sentence.

As an initial matter, the goal of sentencing is to achieve a sentence that is “sufficient but not greater

than necessary.” 18 U.S. C. § 3553(a). In determining a reasonable and fair sentence, the Court

must account for a variety of factors specific to the particular defendant and particular case. The

framework for determining an appropriate sentence is set forth in Section 3553(a). In particular,

Section 3553(a) requires that the Court ensure the sentence imposed properly considers, among other

factors: (1) the nature and circumstances of the offense; (2) the history and characteristics of the

defendant; (3) the need to reflect the seriousness of the offense, to promote respect for the law, and

provide just punishment for the offense; (4) the need to afford adequate deterrence; (5) the need to

protect the public from further crimes of the defendant; (6) the properly calculated Sentencing

Guideline range along with pertinent policy statements provided by the Sentencing Commission;

and (7) the need to avoid unwarranted sentencing disparities.


                                                   12
               1.     Nature and Circumstances of Offense and the Need to Reflect the
                      Seriousness of the Offense, Promote Respect for the Law, and Provide
                      Just Punishment for the Offense

                      a.      Congress and the Courts View the Theft of Trade Secrets as a
                              Serious Offense

       Theft of trade secrets is a serious crime that has real consequences for the victim as well as

the Unites States’ economy. One of the primary objectives of the Economic Espionage Act is to

promote economic security. See, e.g., H. Rep. No. 788, 104th Cong., 2d Sess. 4 (1996); S. Rep. No.

359, 104th Cong., 2nd Sess. (1996). The House Report stated:

       For many years federal law has protected intellectual property though the patent and
       copyright laws. With this legislation, Congress will extend vital federal protection
       to another form of proprietary economic information - trade secrets. There can be
       no question that the development of proprietary economic information is an integral
       part of America’s economic well-being. Moreover, the nation’s economic interests
       are part of its national security interests. Thus, threats to the nation’s economic
       interest are threats to the nation’s vital security interests.

H. Rep. No. 7888, 104th Cong., Sess. 4 (1996).

       Similarly, the Senate Report stated:

       In a world where a nation’s power is now determined as much by economic strength
       as by armed might, we cannot afford to neglect to protect our intellectual property.
       Today, a piece of information can be as valuable as a factory is to a business. The
       theft of information can do more harm than if an arsonist torched that factory . . . .

       The value of the information is almost entirely dependent on its being a closely held
       secret. It includes, but is not limited to, information such as production processes,
       bid estimates, production schedules, computer software, technology schematics, and
       trade secrets. It is, in short, the very information that drives the American economy.
       For many companies this information is the keystone to their economic
       competitiveness. They spend many millions of dollars developing the information,
       take great pains and invest enormous resources to keep it secret, and expect to reap
       rewards from their investment.

S. Rep. No. 359, 104th Cong., 2nd Sess. (1996).




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       Moreover, the Seventh Circuit and other federal courts have expressly recognized the

seriousness of misappropriating trade secrets:

       This is an important case because trade secrets protection is an important part of
       intellectual property, a form of property that is of growing importance to the
       competitiveness of American industry. Patent protection is at once costly and
       temporary, and therefore cannot be regarded as a perfect substitute. If trade secrets
       are protected only if their owners take extravagant, productivity-impairing measures
       to maintain their secrecy, the incentive to invest resources in discovering more
       efficient methods of production will be reduced, and with it the amount of invention.
       . . . The future of the nation depends in no small part on the efficiency of industry,
       and the efficiency of industry depends in no small part on the protection of
       intellectual property.

Rockwell Graphics Sys., Inc. v. DEV Indus., Inc., 925 F.2d 174, 180 (7th Cir. 1991); see also United

States v. Williams, 526 F.3d 1312, 1323 (11th Cir. 2008) (noting the district court properly

considered the danger to the United States economy posed by the theft of trade secrets).

                       b.      Impact on Motorola

       As Congress and the courts have made clear, any theft of a trade secret is a serious crime

with real and severe consequences to the trade secret holder and the U.S. economy. While any theft

of trade secret is a serious crime, Defendant’s conduct is especially egregious because: (1) the

technology Defendant stole was invented and developed by Motorola for 20 years; (2) the volume

and value of the technology was vast; (3) the manner in which Defendant betrayed Motorola’s trust

to steal the technology was extraordinary; and (4) Defendant stole the Motorola documents with the

intent to benefit Sun Kaisens and the Chinese military.

       First, Defendant deserves a significant sentence because her goal was to steal and profit from

the years of hard work and ingenuity of other Motorola employees. In this case, by at least the early

1990s, Motorola and its employees expended significant time and resources toward solving a

particular problem in the cellular industry - namely developing a cellular telephone technology that


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can operate on a narrow 25 kilohertz channel. By approximately 1993, Motorola engineers had

solved the problem and invented the iDEN technology. Notably, the Motorola engineers were very

successful in solving the problem. For instance, as the Court noted, in iDEN, the engineers

developed a push-to-talk technology that is the fastest in the market place. Order, at 26.

       While the iDEN invention was an engineering success, it was also financially successful for

Motorola. Motorola started marketing and selling the technology in approximately 1993 in one

United States city. Since that time, the technology has grown into a worldwide industry for

Motorola that has employed hundreds of engineers and staff. In the past 20 years, the technology

was deployed to customers throughout the world, and in approximately March 2006, the iDEN

technology was used by over 25 million cellular subscribers worldwide (provided service by 32

iDEN operators throughout the world).

       For more than twenty years, Motorola has invested hundreds of millions of dollars and

countless hours of employee time on research and development for the sole purpose of being

competitive in the marketplace and improving the iDEN product. See Government’s Supplemental

Version. This money and time was often recorded in a series of protected Motorola iDEN

documents. The documentation was prepared in part to spark additional innovations by allowing

Motorola employees to benefit from the work of others. Defendant’s conduct put this investment

of time and money in jeopardy because she was taking it wholesale away from Motorola. Rather

than expend the effort to perform the work or rely on her own abilities, Defendant stole the work of

others in the hopes of skipping these enormous research and development costs.

       Defendant’s conduct is particularly problematic because it stifles innovation. Motorola

invented iDEN but shared the technology with Motorola employees to generate further innovation.

Defendant’s conduct likely makes any business consider further protecting trade secrets by

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constraining the number of employees (trusted or otherwise) with access for fear of thefts, resulting

and in further innovation being slowed or stopped.

       Additionally, Defendant’s conduct is egregious because of the volume and value of the iDEN

technology she stole. As explained at her trial, Defendant stole a startling amount of the iDEN

technology documentation. More specifically, Defendant stole hundreds of iDEN documents that

amount to far more than one-third of the total critical iDEN documentation. Each of these

documents requires a significant investment of time, money and resources. These resources are best

illustrated by analyzing the charged trade secret documents: Moto-1, titled “Harmony Support For

Horizontal Dispatch Networking, SAD No. 172” (a SAD document); Moto-2, titled “iDEN EOTD-

Based E911 Location Without HAMR” (a white paper); and Moto-3, titled “Base Station System

MOBIS Call Processing Interface Specification” (an interface control document). Redacted versions

of the three charged Motorola trade secrets (Moto-1A, Moto-2A and Moto-3A) are attached as

Exhibit 18, 18-1, and 18-2 to the Government’s Version. These documents detail a great amount of

information about the iDEN technology and also reflect the work of multiple Motorola employees

and engineers. See id.; Exhibit 15 to Government’s Version.

        Each document encompasses a significant investment of Motorola employee time and

resources. The three documents range in length from 72 (Moto-1A), 22 (Moto-2A), and 162 pages

(Moto-3A). The revision history of each document shows that a number of different engineers

worked on the technology set forth in the documents for a significant period of time. Moto-1 was

first drafted in June 2005, and the most-recent revision is listed as August 30, 2006; Moto-2 was

first drafted in March 2000 and last revised in November 2000; Moto-3’s revision history spans from

May 2001 to February 8, 2007. Moreover, Moto-3 has a seven-page table of contents, and the

documents also contain 143 tables and 29 figures. Moreover, as Bruce Drawert, the government’s

                                                 16
expert witness on iDEN, testified, each of these documents reflects fundamental aspects of the iDEN

technology that are applied in all iDEN systems sold throughout the world. Exhibit 15 to

Government’s Version, at 45, 57-58, 67.

       Bruce Drawert also made clear that the building blocks of the iDEN technology contained

in the three charged documents would assist a competitor in building a competing iDEN product or

technology. Id. at 46, 52, 67; see also Government’s Supplemental Version, at 2 (Motorola letter

explaining how the disclosure of the stolen technology would negatively impact its iDEN business).

In other words, the documents would allow a competitor to unlawfully enter the iDEN market - a

market that is 100 percent dominated by Motorola as the inventor of the proprietary technology.

And, whether examining research and development costs or revenues, iDEN is big business for

Motorola.

       With respect to research and development costs, Motorola invests millions of dollars

annually to further develop the iDEN technology. For instance, between 2001 and 2006, Motorola

invested over $600 million into the research and development of its iDEN technology. In 2006

alone, the investment into Research and Development of iDEN technology was over $50 million.

       Also, with respect to iDEN revenues, in 2011, Motorola reported revenues of $365 million

related to iDEN. See Exhibit 17 to the Government’s Version, at 9; Government’s Supplemental

Version. And, as the Court noted, the revenues for iDEN have been on the decline. Thus, the

revenue numbers were greater in 2006 and 2007 (at the time of the offense) than in 2011. A further

reflection of the scope of the iDEN business is reported revenue from certain customers of Motorola.

Namely, NII holdings (Nextel International), one of Motorola’s largest customers, reported revenues

of over $2 billion. See excerpt of NII’s 2006 Form 10-K filing, attached as Exhibit 19 to

Government’s Version, at 111. In this same document, NII made the following disclosure:

                                                17
        Our digital mobile networks utilize the advanced iDEN technology developed and
        designed by Motorola. IDEN technology is able to operate on non-contiguous
        spectrum frequencies, which previously were usable only for two-way radio
        calls. . . . Although iDEN offers a number of advantages in relation to other
        technology platforms, including the ability to operate on non-contiguous spectrum
        like ours and to offer the Nextel Direct Connect walkie-talkie feature, unlike other
        wireless technologies, it is a proprietary technology that relies solely on the efforts
        of Motorola and any future licensees of this technology for product development and
        innovation. We also rely on Motorola to provide us with technology improvements
        designed to expand our wireless voice capacity and improve our services. Motorola
        is currently and is expected to continue to be our sole source supplier of iDEN
        infrastructure and all of our handsets except Blackberry devices, which are
        manufactured by RIM.

Id. at 15. Needless to say, a nefarious competitor not concerned about intellectual property rights,

would clearly be interested in cutting into just a fraction of Motorola’s iDEN revenue - especially

if it had the opportunity handed to it on a portable hard drive to be deciphered by an employee with

nine years of expertise in the technology. The scope of Defendant’s crime is enormous, and the

economic consequence to Motorola quite severe.

        There is also a human toll to Defendant’s crime. See Government’s Supplemental Version.

In creating iDEN, Motorola also created the iDEN industry and iDEN jobs. See id. Thousands of

Motorola employees have worked on iDEN technology since it was invented. As of February 2007,

Motorola had close to 900 employees related to iDEN worldwide, and there were 32 cellular phone

operators using iDEN. See Government’s Second Supplemental Version. Defendant’s conduct,

of stealing a blueprint of the iDEN technology, put these jobs at risk - as any reduction in market

share (whether legitimate or illegitimate) would likely risk cost cutting measures, such as reduction

in the labor force.

        Additionally, Defendant’s crime was particularly egregious because it involved a severe and

unique abuse of Motorola’s trust. Motorola hired Defendant in 1998 as an iDEN software engineer,

and in that time invested in her and provided her with access to its proprietary iDEN technology.

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Defendant also signed agreements and acknowledgments with Motorola that she would only use

Motorola information for her work at Motorola. Defendant received promotions and favorable

reviews from her supervisors and pay increases from $47,000 in 1998 to $87,000 in March 2005.

       However, Defendant was successful in concealing from Motorola that by 2005, she had

already betrayed its trust. In the summer of 2004, Defendant was being paid to work on projects for

Lemko, another telecommunications company in the Chicago area. Exhibit 1 to Government’s

Version. Twice in 2005, Defendant traveled to China with others from Lemko to perform work at

Sun Kaisens. Defendant concealed all of this information from Motorola. In fact, when Defendant

became ill in the summer of 2005, she asked for and received a leave of absence from Motorola.

And, when she was well enough to work, Motorola took her back. But, shortly thereafter in the fall

of 2005, Defendant took her second trip to China to work for Sun Kaisens. Again, Defendant kept

this information from Motorola as she knew it was prohibited by her employment agreement.

       In February 2006, Defendant again became ill and again asked for and received a leave of

absence. Shortly thereafter, while on this sick leave, Defendant began negotiating employment with

Sun Kaisens through email. In November 2006, while still on sick leave for Motorola, Defendant

traveled to China and again worked for Sun Kaisens. As explained above, on this trip, Defendant

was given a number of Chinese classified military documents describing military

telecommunications projects and asked to help. She agreed to help.

       On February 15, 2007, Defendant returned to the United States and began executing her

scheme to steal Motorola technology. First, Defendant contacted Motorola’s personnel department

and lied to them by stating that she wanted to return to work from her sick leave. In truth, Defendant

wanted to return to Motorola to plunder Motorola’s technology, but if she was honest, she would

not have been allowed to return. As the Court stated: “[t]he direct and circumstantial evidence

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overwhelmingly establishes . . . that Jin did not in fact intend to work for Motorola. Rather, her

return was a mere pretext to obtain thousands of Motorola proprietary documents, including the

charged documents.” Order, at 9 (emphasis added).

       In fact, perhaps the best evidence of Defendant’s intent to steal and run to Sun Kaisens and

China is how she handled her travel arrangements. On February 22, 2007, Defendant reserved two

one-way tickets to China - one leaving on February 26 and the other leaving on February 28. The

next day, Defendant met face to face with a Motorola employee and lied by telling the employee that

she wanted to return to work -never mentioning the one way tickets she reserved. The employee

assisted Defendant with the necessary paperwork and asked Defendant to return the following

Monday (February 26) to meet with her supervisor, get her security badge and return to work. That

time line was not ideal for Defendant, who wanted to get started stealing Motorola technology right

away. So, Defendant asked the Motorola employee to let her inside Motorola’s secured campus

without an active security badge. The employee rejected this request. Later that same day,

Defendant cancelled her February 26 reservation and booked a flight for February 28 because he

plans to steal technology over the weekend had been stymied. However, the Defendant did not give

up.

       On February 26, Defendant returned to work and met with her supervisor. She again lied

and told her supervisor that she wanted to return to work. Defendant played the role of a returning

employee, so that she could raid the computer system. And, that is exactly what she did.

Defendant’s supervisor did not give her an assignment, but rather asked her to get settled in afer her

year-long sick leave. However, from shortly after the meeting with her supervisor through the early

morning hours of February 28, at all hours of day and night, Defendant copied thousands of

Motorola documents to her external hard drive (Defendant saved over 4,000 files on February 26

                                                 20
and over 1800 files early on February 28). See Government’s Exhibit 1 to Government’s Version.

On February 27, Defendant emailed her supervisor and asked for a voluntary layoff because she was

still too ill to work. Defendant was well enough, however, to stay up to the very early hours of

February 28 copying Motorola files. Defendant was stopped later on February 28 at the airport.

       Defendant’s conduct while a Motorola employee demonstrates a complete lack of loyalty

and a betrayal of Motorola’s continued trust. As of 2005, Defendant was secretly working for two

additional telecommunications companies. Given what happened in February 2007, it seems likely

that Defendant was using Motorola inventions and work product to help these other companies.

Motorola held up its end of the employment bargain by providing Defendant with an employment

opportunity and the tools needed to succeed - including access to its iDEN technology. When

Defendant became ill, Motorola was there with a sick leave and an opportunity to return. Defendant

repaid these measures with repeated lies, including a series of lies Defendant told in person to

various Motorola employees about her return to work. All the while, Defendant was counting on

Motorola’s trust in her to allow her time (approximately two days) to access the computer system.

       Lastly, Defendant stole the Motorola technology with the intent to return to China and work

for Sun Kaisens. This is yet another factor that makes Defendant’s offense uniquely serious. As

explained above, the documentation Defendant was handed by Liu at Sun Kaisens makes clear

Defendant knew that Sun Kaisens worked on Chinese military projects. Also, even a cursory review

of just the first page of some of the Chinese-language documents, many of which are classified,

reveal their military nature. For instance, here are the titles of a just a few documents, some of

which are classified and list the People’s Liberation Army (Chinese military) as the author on their

face, for instance: (1) “Military UHF Trunking Mobile Communication System”; (2) An

Introduction of mobile Communication in Military Applications”; (3) “Military CDMA Mobile

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Communication System Encrypted Short Message Center Interface Standard (Draft)”; (4) “Major

Tactical Technology Specifications of Vehicular Mobile Switches of Military Comprehensive

Mobile Communications Systems;” and (5) “Data Packet Format Protocol of Artillery’s Quick

Counter Short Messaging Application System (Draft).” See Exhibit 5 to Government’s Version,

documents numbered 2, 3, 8, 12, and 20.

       Defendant’s work for Sun Kaisens and its Chinese military projects is disturbing and reveals

a great deal about Defendant. First, it demonstrates a lack of loyalty to the United States as well as

Motorola. It is clear that Defendant knew that she would be dedicating her education, talents and

experience to the betterment of the Chinese military. To better serve this effort, she opted to steal

technology that she had access to at Motorola.

       Defendant’s conduct is also troubling because as she was hatching her plan to raid

Motorola’s computer system before returning to China, Defendant took time out to be sworn in as

a United States Citizen. More specifically, on February 20, 2007 (two days before she booked a

return one way ticket to China), Defendant was sworn in as a United States Citizen. Below is the

oath that naturalized citizens take:

I hereby declare, on oath, that I absolutely and entirely renounce and abjure all allegiance and
fidelity to any foreign prince, potentate, state, or sovereignty, of whom or which I have
heretofore been a subject or citizen; that I will support and defend the Constitution and laws of
the United States of America against all enemies, foreign and domestic; that I will bear true faith
and allegiance to the same; that I will bear arms on behalf of the United States when required by
the law; that I will perform noncombatant service in the Armed Forces of the United States when
required by the law; that I will perform work of national importance under civilian direction
when required by the law; and that I take this obligation freely, without any mental reservation
or purpose of evasion; so help me God.

8 C.F.R. § 337.1(a). New citizens take this oath. At the time of Defendant’s swearing in, she

knew that she had already done work for the Chinese military, had classified Chinese military

documents in her possession, and that she planned to return to China and continue her efforts to

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benefit the Chinese military through Sun Kaisens. Contrary to the oath, Defendant was not a

person who had “absolutely and entirely renounce[d] . . . all allegiance and fidelity to any

foreign . . . state . . .” Id.   Another betrayal of trust by Defendant.

                 2.       Defendant’s History and Characteristics

        Defendant was born in China, had a good childhood, is well educated in physics in China

and the United States, and worked for almost nine years as software engineer for Motorola’s

iDEN technology. Defendant’s family and assets are now in China. Namely, Defendant’s

husband departed the United States shortly after Defendant was stopped at the airport in

February 2007 and around the same time $115,000 was wire transferred from Defendant’s joint

bank account into a bank account in China. Defendant does not have a criminal history.

Defendant has had a complicated medical history, and the government anticipates getting more

information on Defendant’s health status prior to sentencing.

        Notably, when Defendant first opted to betray Motorola’s trust and work for outside

telecommunication companies, including Sun Kaisens, she was doing well financially.

Defendant was making well over $80,000 a year from Motorola and had no mortgage on her

home. Order, at 68. She did not view this as sufficient, however, and in 2005 began drawing a

salary for her work at a competing telecommunications company.

                 3.       The Need to Afford Adequate Deterrence

        While specific deterrence is not a significant issue in this case because the publicity of

this

case has greatly limited Defendant’s access to any sensitive or trade secret information, it is

worth noting that this was a premeditated and well-planned crime. Defendant saw an

opportunity to enrich herself and get something she wanted (a job at Sun Kaisens), and stealing

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documents she had access to made that more likely to happen. Defendant had plenty of

opportunities to change her plans and opt not to steal the information - but forged ahead anyway.

That said, similar opportunities may arise for Defendant, and this Court’s sentence should make

clear to Defendant that such conduct has serious consequences.

       A significant sentence will also make clear that federal courts consider the theft of trade

secrets, from their employer or any one else, as a serious crime that garners a significant

punishment. General deterrence is critical in these types of cases because theft of trade secrets is

a relatively easy and profitable crime to commit and one that is often discovered after the

damage to the trade secret is done. So, the best remedy for theft of trade secrets is deterrence.

       To generate revenue, American industry often gives employees access to trade secrets to

better do their jobs and to generate further invention or innovation. This access creates

opportunity for innovation and theft. As explained above, curtailing access is not the answer, as

that only harms industry and stifles development of new or better products and services.

However, once an employee, especially a long-serving, trusted employee, has access to

information, that information can easily be copied and sold, or taken to a new job without the

trade secret holder’s knowledge.

       This crime if often committed by first-time offenders who are company employees and

have the trust of their employers. This is not a difficult crime for a trusted employee to commit,

and it would not be uncommon for an employee to be tempted to commit this offense. Trade

secrets must be protected to preserve the health competitiveness of industry and promote free

enterprise in the marketplace. Thus, the need for general deterrence is paramount here, and a

significant sentence will make employees rethink misusing or stealing trade secrets. A

significant sentence will also send a strong message to victim companies, like Motorola, that

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pursuing criminal charges will have an impact to curtail trade secret thefts. These decisions by

victim companies are not made lightly because they involve a substantial investment of time and

resources for company employees. However, a significant sentence will send the appropriate

message that the time and resources are well spent because courts will treat these thefts as

serious crimes.

III.   CONCLUSION

       Based upon the arguments and evidence discussed above, the government respectfully

submits that a significant sentence is warranted to comply with the sentencing purposes set forth

in Section 3553(a).




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